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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION
FOR LATINO COMMUNITY
ASSET BUILDERS,

Plaintiff,
Case No. 20-cv-3122-APM

Vv.

CONSUMER FINANCIAL
PROTECTION BUREAU,

Defendant,
and

COMMUNITY FINANCIAL SERVICES
ASSOCIATION OF AMERICA,

Intervenor-Defendant.

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NOTICE OF WITHDRAWAL
Pursuant to LCvR 83.6(b), attorney Yvette Garcia Missri gives notice of her withdrawal as
counsel for Plaintiff in this case. Plaintiff will continue to be represented by William R. Corbett
and Rebecca K. Borné of the Center for Responsible Lending, and Rebecca Smullin and Adina

H. Rosenbaum of Public Citizen Litigation Group.

Dated: April 21, 2021 Respectfully submitted,

/s/ Yvette Garcia Missri

Yvette Garcia Missri (D.C. Bar No. 488728)
Center for Responsible Lending

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